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                                            U.S. Department of Ju stice
                                            Federal Bureau of Prisons



From the Office of the Warden               Federal Con-ectional Institution,
                                            33 ½ Pembroke Dr
                                            Danbwy, Connecticut 068 11

                                            October 21 , 2024

Boyden Gray PLLC
800 Connecticut Ave . NW , Suite 900
Washington , D. C . 20006

      Re: Stephen K. Bannon, Register No. 05635-509

Dear Mr . Mccotter ,

FCI Danbury received your letter dated October 8 , 2024 , concerning
your client , Stephen Bannon , Register No . 05635 - 509 . Specifically ,
you request your client ' s immediate release to home confinement .

To date , Mr . Bannon has earned 10 First Step Act ("F SA u) time
credits . These credits would typically be applied toward early
transfer to supervision pursuant to 18 U. S . C . Section
3624 (g) (3) . However , Mr . Bannon does not have a term of supervision
following his term of imprisonment . Thus , his 10 FSA time credits
can only be applied toward prerelease custody placement in a
Residential Reeentry Center or on home confinement .

Unfortunately , Mr . Bannon has insufficient time on his sentence to
process a referral and secure approval for ten days of home
confinement placement . The Regional Reentry Management Office
overseeing your client ' s release area advised their Residential
Reentry Centers , which monitor home confinement placements , that
they will not accept placements under 30 days .

This decision is supported by BOP Program Statement 7310 . 04
- Community Corrections Center (CCC) , Utilization and Transfer
Procedures . Specifically , Program Statement 7310 . 04 , § l0(g) ,
states : " Inmates in the following categories shall not ordinarily
participate in CCC programs .       Ordinarily , inmates serving
sentences of six months or less . "
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Accordingly , your client will be released on his full - term release
date of October 29 , 2024 .




               ting Warden
